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                                    STATEMENT OF FACTS

        Your affiant, Jordan Good, is a duly deputized Task Force Officer (TFO), and as such, I
am a “federal law enforcement officer” within the meaning of Federal Rule of Criminal Procedure
41(a)(2)(C). I am assigned to the Federal Bureau of Investigation (FBI) Joint Terrorism Task
Force. As part of my duties, I have maintained a high level of continuing education in the rhetoric,
symbols, ideology, and tactics of various types of domestic extremists, as well as the laws
governing hate crimes, weapons, explosives, and other violent crimes, which typically pertain to
violations of Title 18 of the United States Code. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a TFO I am authorized by law
or by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

         On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the U.S. House of Representatives and the U.S. Senate were meeting in separate chambers of
the U.S. Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,
which had taken place on November 3, 2020. The joint session began at approximately 1:00 p.m.
Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate
chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,
first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the U.S. House of
Representatives and U.S. Senate, including the President of the Senate, Vice President Mike Pence,
were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the U.S.
Congress was effectively suspended until shortly after 8:00 p.m. Vice President Pence remained
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in the U.S. Capitol from the time he was evacuated from the Senate Chamber until the sessions
resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there, in violation of Federal laws. Photographs and videos of several of
these persons were disseminated via social media and other open source online platforms. These
persons included a white male, wearing a white t-shirt, and a gray/white/black “Columbia” jacket.
The images below depict the individual, highlighted with a red box, whom law enforcement has
probable cause to believe is James Burton McGrew (“MCGREW”).
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       Your affiant is aware that MCGREW has a tattoo across his stomach that states, “KING
JAMES.” The tattoo was photographed as part of MCGREW’s 2012 booking photographs. A
photograph of the tattoo is set forth below.




        On January 6, 2021, in footage retrieved from a body worn camera worn by the
Metropolitan Police Department of the District of Columbia (MPD) police officers, at
approximately 2:52 pm, MCGREW was inside of the U.S. Capitol. As depicted below, MCGREW
lifted his shirt to wipe his eyes, displaying a stomach tattoo.




        In the video, MCGREW aggressively approached law enforcement officers, yelling
statements such as “we’re coming in here, whether you like it or not” and “fight with us, not
against us.” At one point, as MCGREW continued to hold up his phone, MCGREW began to
name the officers standing before him and their badge numbers.

      At 3:05 pm, body worn camera footage placed MCGREW inside of the Rotunda.
According to multiple videos, law enforcement officers attempted to push rioters back to force
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them towards one exit door. After MCGREW was pushed back with the crowd, MCGREW
lunged forward to strike a law enforcement officer.




       After hitting the law enforcement officer, MCGREW retreated away, as law enforcement
officers continued to yell to the rioters, “move back.”
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       Within seconds, MCGREW disobeyed law enforcements’ commands and moved forward
to again approach the officers.




      At one point, as MCGREW continued to scream at law enforcement officers, a law
enforcement officer calmly told MCGREW, “just leave, just leave man, come on.” MCGREW
screamed back, “You leave. You leave. This is our house.”
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        Law enforcement officers attempted to again move the rioters towards the door, using
their baton to push the rioters back and repeatedly stating, “move back.” As the law enforcement
officers moved MCGREW back, MCGREW stuck another law enforcement officer.




       MCGREW then lunged for the law enforcement officer’s baton:




        On January 7, 2021, a concerned citizen (“C-1”) contacted FBI regarding MCGREW.
According to C-1, MCGREW told C-1 prior to January 6th that he (MCGREW) intended to
travel to Washington D.C. on January 6th to “protest” the “stolen vote.” The tipster further told
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FBI that after January 6th, MCGREW showed another employee a video on MCGREW’s
cellular phone, which depicted MCGREW inside of the U.S. Capitol on January 6, 2021. The
tipster also provided to FBI a photograph of MCGREW:




        On February 26, 2021, another concerned citizen (“C-2”) called the FBI National Threat
Operations Center and stated that MCGREW assaulted Capitol Police Officers on January 6, 2021.
On March 3, 2021, your affiant contacted C-2 via telephone who advised he/she had photos of
MCGREW. On March 3, 2021, C-2 provided via email three photographs of an individual
believed to be MCGREW inside the U.S. Capitol. The photographs provided by C-2 appear to be
the same photograph with different annotations. One of the photographs provided by C-2 is set
forth below.
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
MCGREW violated 18 U.S.C. §§ 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; and (4) knowingly engages in any act of physical
violence against any person or property in any restricted building or grounds; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that MCGREW violated 40
U.S.C. §§ 5104(e)(2)(D), (F) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Your affiant submits there is probable cause to believe that MCGREW violated 18 U.S.C.
§ 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

       Your affiant submits there is probable cause to believe that MCGREW violated 18 U.S.C.
§§ 1512(c)(2),2, which makes it a crime to obstruct, influence, or impede any official
proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official
proceedings.
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        Finally, your affiant submits there is probable cause to believe that MCGREW violated
18 U.S.C. § 111(a), which makes it a crime to forcibly assault, resist, oppose, impede, intimidate,
or interfere with any person, designated in Title 18 Section 1114, while engaged in or on account
of the performance of official duties and where the acts in violation of this section involve
physical contact with the victim and the intent to commit another felony.




                                                     _________________________________
                                                     Jordan Good
                                                     Joint Terrorism Task Force Officer
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 27th day of May 2021.

                                                                     Digitally signed by G.
                                                                     Michael Harvey
                                                                     Date: 2021.05.27 17:46:56
                                                     ___________________________________
                                                                     -04'00'

                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
